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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

LCCS Group
                                          Plaintiff,
v.                                                          Case No.: 1:16−cv−05827
                                                            Honorable John F. Kness
A.N. Webber Logistics, Inc., et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 26, 2021:


        MINUTE entry before the Honorable John F. Kness: In an order [364] entered on
7/2/2021, the Court directed Plaintiff to show cause in writing, on or before 7/12/2021,
why this case should not be dismissed with prejudice for lack of prosecution. As part of
the 7/2 order, the Court warned Plaintiff that the order constituted the Court's final
warning before dismissal. As of the date of today's minute order, Plaintiff has failed to
comply with the 7/2 order or otherwise to manifest its intent to resume prosecution of this
case. Accordingly, the case is dismissed with prejudice. Enter separate final judgment
order. Any pending motions are dismissed as moot. Civil case terminated. Mailed
notice(mjc, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
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